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_"" couNsEL;PARnEs cr REcnRu
DANIEL G. BOGDEN
United States Attomey g w 1 t ?[‘,:,;:
Dist:rict of Nevada " "
J. Gregory Damm
Crane M. Pomerantz CLERK US D\STRlCT COURT
Assistant United States Attomeys D|STR¥CT UF NEVADA DEPUW
333 Las Vegas Boulevard South BY"
Suite 5000

Las Vegas, Nevada 89101
702-388-6336

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
-o()o-
UNITED STATES OF ANLERICA, ) S_ECOND SUPERSEDING CRJMINAL
) INDICTMENT
Plajntiff, )
) 2:13-CR-039-JAD-VCF
)
VS~ ) VIoLATIoNS;
)
RAMON DESAGE, aka, RAMON ) 18 U.S.C. § 371, Conspiracy to Defraud the
ABI-RACHED, aka RAYMOND ) United States
ANTOINE ABI-RACHED, ) 18 U.S.C. § 1343, Wire Fraud
PETER AKARAGIAN, and ) 18 U.S.C. § 1957, Money Laundering
GARY PARKINSON ) 26 U.S.C. § 7201, IHCOm€ Tax EVaSiOn
’ )
Defendant(s). §

 

 

 

THE GRAND JURY CHARGES THAT:
wm
(Conspiracy to Defraud the United States)
The Conspiracv and Its Obiects
1. From on or about at least January 1, 2006, and continuing thereafter until on or about at
least October 20, 2010, in the State and District of Nevada and elsewhere, the defendants,
RAMUN DESAGE, aka, Ramon Abi-Rached, aka Raymond Antoine Abi-Rached,

PETER AKARAGIAN and
GARY PARK[NSON,

 

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knowingly and willfully conspired and agreed together and with each other, (and With other
persons both known and unknown to the grand jury), to defraud the United States by deceit,
craft, trickery and dishonest means for the purpose of impeding, impairing, obstructing, and
defeating the lawful government functions of the Intemal Revenue Service of the Treasury
Department in the ascertainment, computation, assessment, and collection of revenue, to wit:
federal tax liabilities

Manner and Means of the Conspiracv
2. It was part of the conspiracy that the defendants Would by deceit, craft, trickery and
dishonest means, defraud the lUnited States by interfering with and obstructing the lawful v
governmental functions of the Intemal Revenue Seryice, in that the defendants would make and
cause to be made false entries into the RAM()N DESAGE business books and records resulting
in RAMON DESAGE personal expenses being classified as business expenses.
3. lt was a further part of the conspiracy that the defendants would make and cause to be
made false entries into the RAMON DESAGE business books and records which excluded
substantial income payments to said businesses resulting in an understatement of business gross
receipts.
4. lt was a further part of the conspiracy that the defendants would pay or cause to be paid
RAMON DESAGE personal expenses from RAMON DESAGE business accounts without
recognizing the payment of these expenses as income to RAMON DESAGE.
5. It was a liirther part of the conspiracy that the defendants, PETER AKARAGIAN and
GARY PARKINSON, would falsely classify or cause to be classified clear RAMON DESAGE

personal expenses as business expenses on RAMON DESAGE books and records

 

 

 

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Overt Acts
6. In furtherance of the conspiracy and to effect the objects of the conspiracy, the following
overt acts, among others, were committed in the Distn`ct of Nevada and elsewhere: '
(a) On or about August 10, 2007, the defendant, RAMON DESAGE filed his
fraudulent 2006 F ederal Income Tax Return.
(b) On or about August 29, 2008, the defendant, RAMON DESAGE filed his
fraudulent 2007 Federal Income Tax Return.
(c) On or about September 8, 2009, the defendant, RAMON DESAGE filed
his fraudulent 2008 Federal lncome Tax Return.
(d) On or about October 20, 2010, the defendant, RAMON DESAGE filed his
fraudulent 2009 Federal Incorne Tax Return.
Counts Two through 'I`wentv
(Wire Fraud)
1. From on or about May 23, 2005, and continuing to on or about at least February 11,
2014, in the State and Federal District ofNevada,

RAMON ])ESAGE,
aka Ramon Abi-Rached, aka Raymond Antoine Abi-Rached,

defendant herein, did devise, intend to devise, and participate in a scheme and artifice to defraud
and for obtaining money and property by means of materially false and fraudulent pretenses,'
representations and promises, Which scheme and artifice involved RAMON DESAGE
fraudulently obtaining money from investors by falsely claiming that the money they provided to
him would be used for business purposes, When in fact RAMON DESAGE intended to use the

money primarily to pay off casino debts, pay back other investors, and otherwise enrich himself

 

 

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2. lt was part of the scheme and artifice that:

A. Desage represented to potential investors that he was in the wholesale distribution
business, and that he was able to purchase luggage, hand soap and other assorted items at a
discount and could resell these items at a substantial profit

B. ln order to induce investors to provide him with substantial sums of money,
Desage falsely represented that he would use their investments solely to purchase product for
resale and for other business-related expenses, when he well knew that only a naction of the
investors’ money, if any, would be used for the represented business purposes.

C. Desage concealed from investors the fact that he would use their investments to
pay off gambling debts at various Las Vegas casinos, to pay back other investors to Whom he
owed money for their investments, to pay for luxury personal items for himself and others, and to
make payments to family members

D. Within days of receiving investments of several million dollars from different
investors, Desage transferred portions of these funds to Las Vegas casinos to satisfy gambling
debts, and to pay other investors to make it appear that he intended to pay them back in full,
when he well knew that these payments were made to induce the investors to make larger
investments with him.

E. Between January 2005 and June 2012, Desage received approximately $190
million from investors, sent approximately $175 million to casinos for gambling purposes, and
failed to repay his investors their principal and promised rates of return.

3. For the purpose of executing thescheme and artifice to defraud, and attempting to do so,
on or about the dates set forth below,

RAMON DESAGE,
aka Ramon Abi-Rached, aka Raymond Antoine Abi-Rached,

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defendant herein, did knowingly transmit and cause to be transmitted by means of wire
communication in interstate commerce certain writings, signs, signals, and pictures, that is, on
the dates set forth below, Desage sent and received the communications described below, to and

from the individuals and locations described below, with each wire transmission constituting a

 

 

separate violation of Title 18, United States Code, Section 1343:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count lnvestor w Description of Wire Transmission

2 # l 03/13/2009 $700,000 wire transfer from Cadeau Acct # xxxxxx6157
at Bank of Nevada to Wynn Casino

3 # l 03/13)'2009 $107,000 wire transfer from Cadeau Acct # xxxxxx6157
at Bank of Nevada to investor # 3

4 # 1 09/30/2010 $30,000 wire transfer out from Cadeau Acct #
xxxxxx6157 at Bank of Nevada to investor # 3

5 # l 09/30/2010 $420,000 Wire transfer from Cadeau Acct #
xxxxxxx6157 at Bank of Nevada to Las Vegas Sands

6 # l 10/01/2010 $30,000 wire transfer from Cadeau Acct # xxxxxx6157
at Bank of Nevada to investor # 3

7 # l 10/01/2010 $50,000 wire transfer from Cadeau Acct # xxxxxx6157
at Bank of Nevada to Wynn Casino

8 # 1 10/01/2010 $50,000 wire transfer from Cadeau Acct # xxx6157 at
Bank of Nevada to Destron (MGM)

9 # 2 03/'02/2009 $2,650,000 wire transfer from investor # 2 to Cadeau
Acct # xxxxxx6157 at Bank ofNevada

10 # 3 01/14/2010 $l,750,000 wire transfer from investor # 3 to Cadeau
Acct # xxxxxx6157 at Bank of Nevada

11 # 4 09119/201 l $3,250,000 wire transfer from investor # 4 to Beryt Acct
# xxxxxx6408 at Bank of Nevada

12 # 4 09/20/201 l $3,000,000 wire transfer from investor # 4 to Beryt Acct
# xxxxxx6408 at Bank of Nevada

13 # 4 09722/2011 $2,000,000 wire transfer from investor # 4 to Beryt Acct
# xxxxxx6408 at bank ofNevada

14 # 4 09/27!2011 $1,200,000 wire from investor # 4 to Beryt Acct #
xxxxxx6408 at Bank of Nevada

15 # 4 10/18/2011 $2,000,000 wire from investor # 4 to Beryt Acct #
xxxxxx6408 at Bank of Nevada

16 # 4 11/03/2011 312,000,000 wire from investor # 4 to Beryt Acct #
xxxxxx6408 at Bank of Nevada

17 # 4 01/17/2012 $10,500,000 wire from investor # 4 to Beryt Acct #
xxxxxx6408 at Bank of Nevada

 

 

 

 

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18 #4 03/12/2012 $7 000 000 wire from investor # 4 to Beryt Acct #
xxxxxx6408 at Bank of Nevada

19 #4 04/27/2012 $4,500,000 wire from investor # 4 to Beryt Acct #
xxxxxx6408 at Bank of Nevada

20 #4 06/06/2012 $3,500,000 wire from investor # 4 to Beryt Acct #
xxxxxx6408 at Bank ofNevada

 

 

 

Counts Twenty-()ne through Forty-Eight
(Money Laundering)

On or about the dates set forth below, in the District of Nevada, and elsewhere, the

defendant, RAMON ])ESAGE, did knowingly engage and attempt to engage in the following

monetary transactions by, through and to a financial institution, affecting interstate or foreign

commerce, in criminally derived property of a value greater than $10,000, that is the transfer of

funds, such property having been derived from a specified unlawful activity, that is, Wire Fraud.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count Date Monetary Transaction Associated
Wire
Fraud
Count(s)
21 03/03/2009 $130,000 wire transfer from Cadeau Acct # xxxxxx6157 9
at Bank of Nevada to Op-Biz, LLC (Planet l-lollywood)
22 03/03/2009 $400,000 wire transfer from Cadeau Acct # xxxxxx6157 9
at Bank of Nevada to Wynn Casino
23 01/15/2010 $280,000 wire transfer from Cadeau Acct # xxxxxx6157 10
at Bank of Nevada to HRHH Gaming (Hard Rock)
24 01/15/2010 $500,000 wire transfer from Cadeau Acct # xxxxxx6157 10
at Bank of Nevada to Destron (MGM)
25 09/20/2011 $470,000 wire transfer from Beryt Acct # xxxxxx6408 11 & 12
at Bank of Nevada to Desert Palace DBA Caesar’s
Palace
26 09/21/2011 $1,170,000 wire transfer from Beryt Acct # xxxxxx6408 11 & 12
at Bank of Nevada to Wynn Casino
27 09/22/2011 $350,000 wire transfer from Beryt Acct # xxxxxx6408 13
at Bank of Nevada to Destron
28 09/28/2011 8100,000 wire transfer from Beryt Acct # xxxxxx6408 14
to Desage’s brothers in Lebanon
29 09/28/2011 $480,000 wire transfer from Beryt Acct # xxxxxx6408 14
at Bank of Nevada to Green Valley Ranch Casino
30 101l 18/2011 $600,000 transfer from Beryt Acct # xxxxxx6408 to 15
Cadeau Acct # xxxxxx6157 at Bank of Nevada

 

 

 

 

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31 10/19/2011 $625,000 Check #3230 on Cadeau Acct # xxxxxx6157 15
at Bank of Nevada payable to HF

32 11/03/2011 $150,000 wire transfer from Beryt Acct # xxxxxx6408 16
at Bank of Nevada to Wynn Casino

33 11/04/2011 $585,000 wire transfer from Beryt Acct # xxxxxx6408 16
at Bank of Nevada to Las Vegas Sands (Venetian
Casino)

34 111'08/2011 $190,000 wire transfer from Beryt Acct # xxxxxx6408 16
at Bank of Nevada to Desert Palace dba Caesar’s Palace

35 01720/2012 $300,000 wire transfer from Beryt Acct # xxxxxx6408 17
at Bank of Nevada to Desert Palace dba Caesar’s Palace

36 01/20/2012 $500,000 wire transfer from Beryt Acct # xxxxxx6408 17
at Bank of Nevada to Wynn Casino

37 01/23/2012 $700,000 wire transfer from Beryt Acct # xxxxxx6408 17
at Bank of Nevada to Wynn Casino

38 03/13/2012 $300,000 wire transfer from Beryt Acct # xxxxxx6408 18
at Bank of Nevada to Desert Palace dba Caesar’s Palace

39 03/13/2012 $700,000 wire transfer from Beryt Acct # xxxxxx6408 18
at Bank of Nevada to Wynn Casino

40 03/16/2012 $500,000 wire transfer from Beryt Acct # xxxxxx6408 18
at Bank of Nevada to Wynn Casino

41 04/30/2012 $450,000 wire transfer from Beryt Acct # xxxxxx6408 19
at Bank of Nevada to Desert Palace dba Caesar’s Palace

42 04/30/2012 $550,000 transfer from Beryt Acct # xxxxxx6408 to 19
Ramon Desage Acct # xxxxxx4709 at Bank of Nevada

43 04/20/2012 $750,000 check # 4709 from Rarnon Desage Acct # 19
xxxxxx4709 at Bank of Nevada to Wynn Casino

44 06/08/2012 $300,000 wire transfer from Beryt Acct # xxxxxx6408 20
at Bank of Nevada to Desert Palace dba Caesar’s Palace

45 06/08/2012 $800,000 transfer from Beryt Acct # xxxxxx6408 to 20
Cadeau Acct # xxxxxx6157 at Bank of Nevada

46 06/11/2012 $150,000 check #3741 from Cadeau Acct # xxxxxx6157 20
at Bank of Nevada to HF

47 06/11/2012 $350,000 check #3712 from Cadeau Acct # xxxxxx6157 20
at Bank of Nevada to HF

48 06/11/2012 $350,000 check #3740 hom Cadeau Acct # xxxxxx6157 20
at Bank of Nevada to HF

 

Nevada and elsewhere,

All in violation of Title 18, United States Code, Sections 1957 and 2.

COUNTS Fol'tv-Nine - Fif`tv-Two
(Income Tax Evasion)

On or about August 10, 2007, through on or about OCtober 20, 2010, in the District of

 

 

 

 

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RAMON DESAGE,
aka Ramon Abi-Rached, aka Rayrnond Antoine Abi-Rached,

defendant herein, did willfully attempt to evade and defeat the payment of a large part of the
income tax due and owing by him for tax years 2006-2009 to the United States of America by
concealing and attempting to conceal from the lnternal Revenue Service the nature and extent of
his assets and the location thereof; making false statements to agents of the lntemal Revenue
Service; substantially under-reporting taxable income and tax due; concealing true income and
expenses by falsifying books and records; classifying personal expenses as business expenses;
and, falsely classifying book transfers between companies as purchases; defendant’s willful

attempt to evade taxes due for each tax year constituting a separate charge against defendant as

 

 

 

 

 

 

provided in the chart beiow:
Count Year Taxable lncome Approximate Approximate
Per Return Unreported Tax Loss
Taxable lncome

49 2006 $293,000 $19,207,230 $ 7,180,366

50 2007 $491,510 827,73 9,707 $ 9,721,486

51 2008 $254,296 $30,548,028 $10,683,986

52 2009 $440,216 $ 9,685,757 $3,343,609
Total $87,180,722 $30,929,447

 

 

 

 

 

 

 

All in violation of Title 26, United States Code, Section 7021.

FORFEITURE ALLEGATION ONE
(Wire fraud)

1. The allegations contained in Counts Two through Twenty of this Criminal Indictment are
hereby re-alleged and incorporated herein by reference for the purpose of alleging forfeiture
pursuant to Title 18, United States Code, Section 981(a)(1)(c) and Titie 28, United States Code,

Section 2461(c).

 

 

 

 

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2. Upon conviction of any felony offense charged in Counts Two through Twenty of this
Criminal Indictment,

RAMON DESAGE,
aka Ramon Abi Rached, aka Raymond Antoine Abi Rached,

defendant herein, Shall forfeit to the United States of America, any property, real or personal,
which constitutes or is derived from proceeds traceable to violations of Title 18, United States
Code, Section 1343, a specified unlawful activity as defined in Title 18, United States Code,
Sections 1956(c)(7)(A) and 1961(1)(B), or a conspiracy to commit such offenses, an in personam

criminal forfeiture money judgment of $191,000,000.00 in United States Currency, including:

a. 8158,677.17 in United States Currency;
b. $761,515.36 in United States Currency; and
c. $844,586.92 in United States Currency.
3. If any property being subject to forfeiture pursuant to Title 18, United States Code,

Section 981(a)(1)(C)) and Title 28, United States Code, Section 2461 (c)), as a result of any act or
omission of the defendant -
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property that cannot be divided without

difficulty; it is the intent of the United States of America, pursuant to Title
21, United States Code, Section 853(p), to seek forfeiture of any properties

of the defendant for an in personam criminal forfeiture money judgment of

$191,000,000.00 in United States Currency.

 

 

 

 

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All pursuant to Title 18, United States Code, Section 981(a)(1)(C)) and Title 28, United States

Code, Section 2461(0)); Title 18, United States Code, Section 1343, a specified unlawful activity

as defined in Title 18, United States Code, Sections 1956(0)(7) and 1961(1)(B); and Title 21,

United States Code, Section 853(p).

DATED: this 11th day of F ebruary, 2014

A TRUE BILL:

DANIEL G. BOGDEN

U ited States Attorne;
g
GREG MM

CRANE M. POMERANTZ
Assistant United States Attorneys

 

/S/
FOREPERSON OF THE GRAND JURY

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